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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

    STEVEN SANDOE, individually and on                 Case No.
    behalf of all others similarly situated,
                                                     CLASS ACTION COMPLAINT
                  Plaintiff,
                                                     DEMAND FOR JURY TRIAL
    v.

    BOSTON SCIENTIFIC CORPORATION,
    a Massachusetts corporation,

                  Defendant.


                                CLASS ACTION COMPLAINT

         Plaintiff Steven Sandoe (“Sandoe” or “Plaintiff”) brings this Class Action Complaint and

Demand for Jury Trial against Defendant Boston Scientific Corporation (“Boston Scientific” or

“Defendant”) to stop Defendant from violating the Telephone Consumer Protection Act by

making unsolicited, prerecorded calls to consumers, including to consumers registered on the

National Do Not Call registry, and to otherwise obtain injunctive and monetary relief for all

persons injured by Boston Scientific’s conduct. Plaintiff, for his Complaint, alleges as follows

upon personal knowledge as to himself and his own acts and experiences, and, as to all other

matters, upon information and belief, including investigation conducted by his attorneys.

                                       INTRODUCTION

         1.     Boston Scientific develops and sells products such as pacemakers, defibrillators,

and spinal cord stimulators.1

         2.     In order to market at least one of its products, the Spectra WaveWriterTM spinal

cord stimulator, Boston Scientific hosts sales seminars where it promotes its product directly to

consumers with whom it has no prior relationship.


1
    http://www.bostonscientific.com/en-US/products.html
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       3.      Boston Scientific places prerecorded voice sales calls to these consumers without

their consent to “invite” them to its sales seminars.

       4.      In Plaintiff’s case, Boston Scientific made 2 unsolicited, prerecorded voice sales

calls to plaintiff despite his having registered his phone number on the National Do Not Call

Registry (“DNC”) to prevent such calls.

       5.      In response to these calls, Plaintiff files this lawsuit seeking injunctive relief,

requiring Defendant to stop making prerecorded voice sales calls to consumers without their

consent and to otherwise stop calling consumers whose phone numbers are registered on the

National Do Not Call Registry (“DNC”), as well as an award of statutory damages to the

members of the Classes and costs.

                                             PARTIES

       6.      Plaintiff Sandoe is a Weatherford, Texas resident.

       7.      Defendant Boston Scientific is a Massachusetts corporation headquartered in

Marlborough, Massachusetts. Boston Scientific conducts business throughout this District, the

State of Massachusetts, and throughout the United States.

                                 JURISDICTION AND VENUE

       8.      This Court has federal question subject matter jurisdiction over this action under

28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

§227 (“TCPA”).

       9.      This Court has personal jurisdiction over Defendant and venue is proper in this

District under 28 U.S.C. § 1391(b) because Defendant resides in this District, does significant

business here, and because the wrongful conduct giving rise to this case occurred in and/or was

directed from this District.




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                                 COMMON ALLEGATIONS

    Boston Scientific Markets its Products by Placing Prerecorded Calls to Consumers
        Without Their Consent and Regardless of Whether They Have Registered
               Their Phone Numbers on the National Do Not Call Registry

       10.     As explained by the Federal Communications Commission (“FCC”) in its 2012

order, the TCPA requires “prior express written consent for all … prerecorded [solicitation] calls

to wireless numbers and residential lines.” In the Matter of Rules and Regulations Implementing

the Telephone Consumer Protection Act of 1991, CG No. 02-278, FCC 12-21, 27 FCC Rcd. 1830

¶ 2 (Feb. 15, 2012).

       11.     Yet in violation of this rule, Defendant fails to obtain express written consent

before making prerecorded voice sales calls to consumers such as Plaintiff.

       12.     Boston Scientific’s prerecorded voice calls direct consumers to its websites

marketing its products, such as https://cypevents.com which specifically advertises the Spectra

WaveWriterTM:




                                                                                              2, 3, 4




2
   https://www.networksolutions.com/whois/results.jsp?domain=cypevents.com
3
  In 2017, Precision SpectraTM was rebranded as the Spectra WaveWriterTM.
https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpma/pma.cfm?ID=396671
4
  https://cypevents.com
                                                                                                        3
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       13.       The prerecorded voice sales calls “invite” consumers to attend a seminar, such as

a seminar called “Treatment Options for Chronic Pain.”5 The seminars are a direct to consumer

sales pitch by Boston Scientific for its products, such as the Spectra WaveWriterTM.6

       14.       The sole purpose of the solicitation calls and seminars is for Boston Scientific to

promote its products, like the Spectra WaveWriterTM, to consumers that Boston Scientific has no

previous relationship with.7, 8

       15.       These calls are part of an overall marketing and sales strategy to use prerecord

voice sales calls and seminars to promote Boston Scientific’s products, including the Spectra

WaveWriterTM, throughout the United States, including in locations such as Michigan, Ohio,

Indiana, Alabama, North Carolina and Florida.

                                  PLAINTIFF’S ALLEGATIONS

        Boston Scientific Placed Prerecorded Calls to Plaintiff Without His Consent,
            Despite Plaintiff Having Registered His Phone Number on the DNC

       16.       On July 25, 2015, Plaintiff registered his phone number on the National Do Not

Call Registry.

       17.       Notwithstanding, in or around June 2018, Boston Scientific made a prerecorded

voice sales call to Plaintiff from phone number (469) 964-6024.9 Plaintiff answered this call and

heard a prerecorded voice message stating:

       Hello, this is a call on behalf of Dr. Joshua Hay, with Spine Works Institute, your pain

       management doctor. We wanted to let you know that we are hosting an educational



5
  https://cypevents.com/1682/
6
  https://cypevents.com/
7
  http://mayfieldclinicblog.com/?p=4265
8
  https://mybackmylife.com/dr-kathy-wang-leads-seminars-on-chronic-pain-with-boston-
scientific/
9
  When (469) 964-6024 is called, it leads to the voicemail of Jeremy Hopkins, a Boston
Scientific manager in Texas. https://www.linkedin.com/in/jlhopkins/
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       seminar “treatment options for chronic pain” on July 10 to discuss non medication

       options to manage chronic pain. This free seminar will take place on Tuesday July 10th

       from 5:30 PM to 7:30 PM at the Holiday Inn Express and Suites VF Western in Hurst

       located at 820 Thousand Oaks Drive. Again, that’s the Holiday Inn Express and Suites

       VFW West located at 820 Thousand Oaks Drive. Food will be served and family and

       friends are also welcome to attend. Seating is limited so please call 877-472-4650 to

       RSVP for this event. You can also find more information online and register online at

       cypevents.com. Again, that’s 877-472-4650 or cypevents.com. Thank you.

       18.     On July 6, 2018 at 5:31 pm, Boston Scientific made a second prerecorded voice

sales call to Plaintiff from the same phone number using exactly the same prerecorded voice

message. No option was provided in either prerecorded message giving Plaintiff the option of

opting-out from receiving future solicitation calls.

       19.     Plaintiff does not have a relationship with Boston Scientific, or any of its

affiliated companies, nor has he ever consented to any contact from Defendant.

       20.     Simply put, Boston Scientific did not obtain Plaintiff’s prior express written

consent to place any solicitation telephone calls to him using a prerecorded voice message.

       21.     Defendant’s unauthorized telephone calls harmed Plaintiff in the form of

annoyance, nuisance, and invasion of privacy, and disturbed Sandoe’s use and enjoyment of his

phone, in addition to the wear and tear on the phone’s hardware (including the phone’s battery)

and the consumption of memory on the phone.

       22.     Seeking redress for these injuries, Sandoe, on behalf of himself and Classes of

similarly situated individuals, brings suit under the Telephone Consumer Protection Act, 47

U.S.C. § 227, et seq., which prohibits unsolicited prerecorded voice calls to landline and cellular

phone and numbers, and unsolicited marketing calls to phone numbers registered on the DNC.

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                                    CLASS ALLEGATIONS

                Class Treatment Is Appropriate for Plaintiff’s TCPA Claims
                       Arising From Calls Made by Boston Scientific

       23.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)

and Rule 23(b)(3) on behalf of himself and all others similarly situated and seeks certification of

the following two Classes:

       Prerecorded No Consent Class: All persons in the United States who from four
       years prior to the filing of this action through the present (1) Defendant (or agents
       acting on behalf of Defendant) called, (2) using a prerecorded voice message, (3)
       without consent.

       Do Not Call Registry Class: All persons in the United States who from four years
       prior to the filing of this action (1) Defendant (or an agent acting on behalf of
       Defendant) called more than one time, (2) within any 12-month period, (3) where
       the person’s telephone number had been listed on the National Do Not Call Registry
       for at least thirty days, (4) for the purpose of selling Defendant’s products and
       services, (5) without prior express written consent.

       24.     The following individuals are excluded from the Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, their

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

have a controlling interest and their current or former employees, officers and directors; (3)

Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Classes; (5) the legal representatives, successors or assigns of any such excluded

persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated

and/or released. Plaintiff anticipates the need to amend the Class definitions following

appropriate discovery.

       25.     Numerosity: On information and belief, there are hundreds, if not thousands of

members of the Classes such that joinder of all members is impracticable.

       26.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Classes, and those questions predominate over any
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questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to the following:

               (a) whether Defendant utilized a prerecorded voice message when placing calls to
                   Plaintiff and the members of the Prerecorded No Consent Class;

               (b) whether Defendant systematically made multiple telephone calls to Plaintiff
                   and consumers whose telephone numbers were registered with the National
                   Do Not Call Registry;

               (c) whether Defendant placed prerecorded voice message calls to Plaintiff and
                   members of the Classes without first obtaining consent to make the calls;

               (d) whether Defendant’s conduct constitutes a violation of the TCPA; and

               (e) whether members of the Classes are entitled to treble damages based on the
                   willfulness of Defendant’s conduct.

       27.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Classes, and has retained counsel competent and experienced in class

actions. Plaintiff has no interests antagonistic to those of the Classes, and Defendant has no

defenses unique to Plaintiff. Plaintiff and his counsel are committed to vigorously prosecuting

this action on behalf of the members of the Classes, and have the financial resources to do so.

Neither Plaintiff nor his counsel have any interest adverse to the Classes.

       28.     Appropriateness: This class action is also appropriate for certification because

Defendant has acted or refused to act on grounds generally applicable to the Classes and as a

whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the members of the Classes and making final class-wide injunctive relief

appropriate. Defendant’s business practices apply to and affect the members of the Classes

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with

respect to the Classes as wholes, not on facts or law applicable only to Plaintiffs. Additionally,

the damages suffered by individual members of the Classes will likely be small relative to the

burden and expense of individual prosecution of the complex litigation necessitated by
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Defendant’s actions. Thus, it would be virtually impossible for the members of the Classes to

obtain effective relief from Defendant’s misconduct on an individual basis. A class action

provides the benefits of single adjudication, economies of scale, and comprehensive supervision

by a single court. Economies of time, effort, and expense will be fostered and uniformity of

decisions will be ensured.

                                  FIRST CAUSE OF ACTION
                              Telephone Consumer Protection Act
                                 (Violations of 47 U.S.C. § 227)
             (On Behalf of Plaintiff Sandoe and the Prerecorded No Consent Class)

       29.      Plaintiff repeats and realleges paragraphs 1 through 28 of this Complaint and

incorporates them by reference herein.

       30.      Defendant and/or its agents made unwanted solicitation telephone calls to Plaintiff

and the other members of the Prerecorded No Consent Class using a prerecorded voice message.

       31.      These prerecorded voice message calls were made en masse without the consent

of the Plaintiff and the other members of the Prerecorded No Consent Class.

       32.      Defendant has, therefore, violated 47 U.S.C. §§ 227(b)(1)(A), (B). As a result of

Defendant’s conduct, Plaintiff and the other members of the Prerecorded No Consent Class are

each entitled to a minimum of $500 in damages for each violation, and up to $1,500 in damages

for each violation in the event that the Court determines that Defendant’s conduct was willful

and knowing.

                               SECOND CAUSE OF ACTION
                             Telephone Consumer Protection Act
                                (Violation of 47 U.S.C. § 227)
              (On Behalf of Plaintiff Sandoe and the Do Not Call Registry Class)

       33.      Plaintiff repeats and realleges paragraphs 1 through 28 of this Complaint and

incorporates them by reference herein.




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       34.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or her telephone number on the national do-not-call registry of persons

who do not wish to receive telephone solicitations that is maintained by the federal government.”

       35.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any

person or entity making telephone solicitations or telemarketing calls to wireless telephone

numbers.”10

       36.     The TCPA provides that any “person who has received more than one telephone

call within any 12-month period by or on behalf of the same entity in violation of the regulations

prescribed under this subsection may” may bring a private action based on a violation of said

regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid

receiving telephone solicitations to which they object. 47 U.S.C. § 227(c).

       37.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry

Class members who registered their respective telephone numbers on the National Do Not Call

Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government.

       38.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and members of the

Do Not Call Registry Class received more than one telephone call in a 12-month period made by

or on behalf of Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of

Defendant’s conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered

actual damages and, under section 47 U.S.C. § 227(c), are entitled to receive no less than $500 in


10
   Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003) Available at
https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-153A1.pdf
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damages for each violation, and up to $1,500 in damages for each violation in the event that the

Court determines that Defendant’s conduct was willful and knowing.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

following relief:

   a) An order certifying the Classes as defined above; appointing Plaintiff as the

       representative of the Classes; and appointing his attorneys as Class Counsel;

   b) An award of actual and/or statutory damages for the benefit of Plaintiff and the Classes;

   c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

   d) An injunction requiring Defendant to cease all unsolicited calling activity, and to

       otherwise protect the interests of the Classes; and

   e) Such further and other relief as the Court deems just and proper.

                                          JURY DEMAND

       Plaintiff requests a jury trial.

                                              Respectfully Submitted,

                                              STEVEN SANDOE, individually and on behalf of
                                              those similarly situated individuals


Dated: August 26, 2018                        By:   /s/ Jason Campbell

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                            *Pro Hac Vice motion forthcoming




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